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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Lowell P. Burris and Joyce C. Burris,            Court File No. 07-3938 (JRT/JJK)

             Plaintiffs,
                                            DEFENDANTS VERSA PRODUCTS,
      v.                                     INC. AND G AND L PRODUCTS,
                                             INC.'S MEMORANDUM OF LAW
Gulf Underwriters Insurance Company,               IN OPPOSITION TO
Versa Products, Inc., G and L                   PLAINTIFFS' MOTION TO
Products, Inc.,                                   COMPEL DISCOVERY

             Defendants.


      Defendants Versa Products, Inc. (hereinafter “Versa”) and G and L

Products, Inc. (hereinafter “G & L”) submit this memorandum of law in opposition

to Plaintiffs' motion to compel discovery. Because Versa and G and L no longer

exist as corporate entities, they are unable to respond to Plaintiffs’ written

discovery requests in any more detail than has already been provided.             In

addition, Versa and G and L have no ability to compel the attendance of their

former president, who is not a party to this lawsuit, to attend a deposition in this

case. As such, Plaintiffs’ motion should be denied in its entirety.

      As set forth in these defendants' memorandum of law in support of their

motion to dismiss Plaintiffs’ Complaint, both Versa and G and L were dissolved

years ago. Versa was dissolved effective December 28, 2005, and its Articles of

Dissolution were filed with the Wisconsin Department of Financial Institutions on
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or about January 4, 2006.1 G & L was administratively dissolved by the Iowa

Secretary of State on or about August 22, 2004.2 Because neither company

legally exists, counsel responded to Plaintiffs’ interrogatories with the following:

         Versa Products, Inc. was dissolved effective December 28, 2005,
         and its Articles of Dissolution were filed with the Wisconsin
         Department of Financial Institutions on or about January 4, 2006.
         See Exhibit A to the Affidavit of Matthew D. Sloneker, filed with the
         Court on May 23, 2008 (Docket #13). As such, Versa Products, Inc.
         has no employees, officers, directors, or other representatives
         capable of responding to Plaintiffs’ discovery requests on behalf of
         the dissolved corporation.3

Counsel for Versa and G and L nevertheless answered Plaintiffs’ discovery

requests to the extent possible. Id.

         Furthermore, Plaintiffs’ unfounded accusation that “Versa did not make any

attempt to contact its former president and CEO, Mr. Lambert, to provide

information and documents pursuant to Burris’ discovery” is entirely untrue.

Plaintiffs cite to the actual discovery responses themselves as evidence of this

reckless accusation, though the discovery responses in no way support this

claim.

         To the contrary, counsel for Versa and G and L contacted Mr. Lambert’s

attorney, Frank Terschan, to ask whether Mr. Lambert would provide assistance

in responding to the Burris’ discovery requests.4                    Plaintiffs’ Complaint in this


1
  Affidavit of Matthew D. Sloneker, previously submitted in support of Defendants’ motion to dismiss,
Exhibit A.
2
  Id. at Exh. B.
3
  Affidavit of Thomas F. Handorff in Support of Plaintiffs’ Motion to Compel Discovery, Exhibit 2.
4
  Sloneker Aff.


                                                    2
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matter does not name David Lambert as a defendant, so he is unquestionably

not a party to this case. (Complaint.) In addition, counsel’s ethical duties require

contacting Mr. Lambert through his attorney.5 Mr. Terschan, on behalf of Mr.

Lambert, indicated that Mr. Lambert has no legal authority to act for or on behalf

of either Versa or G and L, and that he would therefore be unable to sign written

discovery responses on their behalf or participate in the preparation of such

responses.6

        Because neither Versa nor G and L currently exist as corporate entities,

they have no representatives or officers, and they have no records in their

possession. To the extent that any records exist anywhere from these dissolved

companies, it is possible that they are in Mr. Lambert’s possession. However,

Mr. Lambert is neither a party to this lawsuit nor represented by counsel for

Versa and G and L. If Plaintiffs desire documents and/or information possessed

by Mr. Lambert, they must obtain them from him.

        All of these issues were clearly communicated to Plaintiffs’ counsel in

connection with their informal request for a deposition of Mr. Lambert.7 To date,

Plaintiffs still have not served a deposition notice directed to Mr. Lambert, a

subpoena directed to Mr. Lambert, or even a Rule 30(b)(6) deposition notice



5
  See Rule 4.2 of the Minnesota Rules of Professional Conduct: “In representing a client, a lawyer shall
not communicate about the subject matter of the representation with a person the lawyer knows to be
represented by another lawyer in the matter, unless the lawyer has the consent of the other lawyer or is
authorized to do so by law or a court order.”
6
  Sloneker Aff.
7
  Handorff Aff., Exhs. 8, 13.


                                                    3
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directed to Versa or G and L.8 Nevertheless, Plaintiffs now move the Court to

compel a deposition they never noticed in the first place.9

        Again, Mr. Lambert is not a party to this lawsuit. As such, Plaintiffs must

subpoena him if they wish to compel his deposition. Even if Plaintiffs were to

serve a Rule 30(b)(6) deposition notice directed to Versa and/or G and L, it is the

prerogative of the corporate entity to “designate one or more officers, directors,

or managing agents…to testify on its behalf.” Fed. R. Civ. P. 30(b)(6). In this

case, however, neither Versa nor G and L has any “officers, directors, or

managing agents,” and Mr. Lambert’s counsel has indicated that, if compelled by

subpoena, Mr. Lambert will testify in his personal capacity but not on behalf of

either dissolved corporation.10

        Finally, Plaintiffs argue that the undersigned, as counsel for Versa and G

and L, must represent Mr. Lambert, because Mr. Lambert’s “affidavit has been

offered in support of Gulf’s denial of insurance coverage.”11 This claim raises

another important point wholly ignored by Plaintiffs in their motion.                            Defense

counsel hired by an insurer to defend a claim against its insured represents the

insured. See Pine Island Farmers v. Erstad & Riemer, 649 N.W.2d 444, 449

(Minn. 2002). As such, the undersigned represent only Versa and G and L, and

only in the liability aspect of this case. With respect to the coverage issues


8
  Sloneker Aff.
9
  In the absence of a formal request for a deposition, there is no available sanction. See Fed. R. Civ. P.
37(a)(3)(B) and 37(d)(1)(A)(i).
10
   Sloneker Aff.
11
   Plaintiffs’ Memorandum, p. 7.


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raised in Gulf’s declaratory judgment portion of this case, the undersigned

counsel represent no party.    The affidavit produced by Gulf in support of its

coverage arguments was obtained by Gulf and/or its attorneys, not by counsel for

Versa and G and L, and that affidavit was certainly not offered or approved by or

on behalf of Versa and G and L. As such, there is no basis in fact for Plaintiffs’

argument that Mr. Lambert’s submission of an affidavit in Gulf’s coverage action

means that Versa or G and L are now required to produce him for a deposition.

      For these reasons, Plaintiffs’ motion to compel discovery from Defendants

Versa and G and L should be denied.




Dated: January 30, 2013               Lind, Jensen, Sullivan & Peterson
                                      A Professional Association



                                      s/Matthew D. Sloneker________________
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